         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 1 of 18




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MANZANITA BAND OF THE
 KUMEYAAY NATION, et al.,

                        Plaintiffs,
                                                       Case No. 1:20-cv-02712 (TNM)
                        v.

 CHAD WOLF, et al.,

                        Defendants.


                                  MEMORANDUM OPINION

       This case is about whether the Government can build the border wall on federal land

notwithstanding concerns that Native American gravesites may be disturbed in the process.

Plaintiffs are affiliated with the Kumeyaay Nation. They seek an expedited preliminary

injunction to halt construction of two barrier projects along the U.S.-Mexico border in California.

The Government argues that Kumeyaay religious or cultural materials have yet to be identified

within the construction sites and that there are protocols in place to avoid or mitigate any

potential harm in the future. A preliminary injunction is an extraordinary remedy that demands a

clear showing of imminent harm that is both certain and great. Plaintiffs have not met this high

standard. So the Court will deny their motion for expedited injunctive relief.

                                                 I.
       Section 102 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996

(“IIRIRA”) grants broad authority to Defendants Department of Homeland Security (“DHS”)

and U.S. Customs and Border Patrol (“CBP”) to build “border barrier infrastructure along the

southern border.” Defs.’ Opp’n to Pls.’ Mot. for Prelim. Inj. (“Defs.’ Opp’n”) at 12, ECF No.



                                                 1
          Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 2 of 18




16. 1 The IIRIRA’s statutory scheme reflects congressional intent to ensure that construction

proceeds expeditiously, unimpeded by litigation that has historically beset such projects. See

Ctr. for Biological Diversity v. McAleenan, 404 F. Supp. 3d 218, 239 (D.D.C. 2019) (concluding

it was “crystal clear that Congress intended to eliminate litigation that would delay the

expeditious construction of border security infrastructure, to the fullest extent possible, i.e., to the

extent constitutionally allowed.” (cleaned up)). It authorizes the DHS Secretary to “waive all

legal requirements such Secretary, in such Secretary’s sole discretion, determines necessary.”

IIRIRA § 102(c)(1).

         There also is limited judicial review of these waivers. A federal court can only consider a

cause or claim arising from the waiver based on a constitutional violation. Id. § 102(c)(2)(A).

And a claim must be brought within sixty days of the waiver. Id. § 102(c)(2)(B). Even for these

constitutional challenges, the IIRIRA only provides a limited right of appeal. Any final or

interlocutory decision on these waivers “may be reviewed only upon petition for a writ of

certiorari to the Supreme Court of the United States.” Id. § 102(c)(2)(C).

         Invoking the IIRIRA, DHS and other government agencies have set out to construct

barrier projects at different locations along the U.S.-Mexico border. See Defs.’ Opp’n at 14.

This has prompted litigation all over the country as various entities and individuals seek to halt

construction for different reasons, and with mixed results. Last year, the Supreme Court stayed

an injunction issued against border barrier construction. See Trump v. Sierra Club, 140 S. Ct. 1

(2019). And it recently declined to lift that stay. See Trump v. Sierra Club, 140 S. Ct. 2620

(2020). Since the Supreme Court’s initial stay decision, other courts have denied or stayed

injunctions halting construction of different border barrier projects. See Defs.’ Opp’n at 48



1
    All page citations refer to the page numbers that the CM/ECF system generates.
                                                   2
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 3 of 18




(citing cases). This includes a district court that last month considered and denied a similar

preliminary injunction request brought by another Indian tribe of the Kumeyaay Nation

involving the same barrier projects. See id. Ex. 1, ECF No. 48-1.

       Construction of the barrier projects at issue here is taking place on a narrow strip of

federal land that parallels the U.S.-Mexico border in San Diego and Imperial Counties,

California (collectively, the “Projects”). Compl. for Decl. & Inj. Relief (“Compl.”) ¶ 51, ECF

No. 1; Decl. of Paul Enriquez (“Enriquez Decl.”) ¶ 11, ECF No. 16-5. In these areas, “CBP has

long had a border security presence.” Enriquez Decl. ¶ 18. Most of the construction—fourteen

of the twenty miles—will replace existing fencing. Id. ¶¶ 14, 17. And the Projects are located

within an area that “functions primarily as a law enforcement zone.” Id. ¶ 11. DHS identified

the Projects as drug-smuggling corridors. Defs.’ Opp’n at 15.

       Exercising the authority under the IIRIRA, Defendant Chad Wolf purported to waive

various federal laws that would otherwise apply to construction of the Projects. 2 See Compl. ¶¶

52, 54; Enriquez Decl. ¶¶ 12, 15. In effect then, construction proceeded with the understanding

that these federal laws do not apply to the Projects. Mot. for TRO & Prelim. Inj. (“Pls.’ Mot.”)

at 15, ECF No. 7.

       Plaintiffs are affiliated with the Kumeyaay Nation, which consists of thirteen federally

recognized Indian tribes with reservations in southern California. Compl. ¶ 1. They include five

tribes of the Kumeyaay Nation, a tribe member, and the Kumeyaay Heritage Preservation

Council (collectively, the “Kumeyaay”). Id. ¶¶ 6–13. Generations of Kumeyaay members have




2
 Waived statutes included the Administrative Procedure Act, the Endangered Species Act, the
National Environmental Policy Act, the National Historic Preservation Act, the Native American
Graves Protection and Repatriation Act, and the American Indian Religious Freedom Act. See
Compl. ¶¶ 52, 54.
                                                 3
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 4 of 18




practiced their religion and culture in the United States and Mexico. Pls.’ Mot. at 17. This

requires “access to, and the availability of, the sacred sites, mountains, trails, landscape, and

cultural and natural resources in the region.” Id. at 21.

       The Kumeyaay consider the treatment of human remains sacred to their religious beliefs.

Id. at 17. They believe that “a person’s soul cannot rest in the afterlife if the remains are

disturbed, or if parts of the body of the deceased are separated after death.” Id. In the event of

disinterment or separation from the body, the Kumeyaay “engage in religious ceremonies to

restore peace to the souls of the dead.” Id. According to the Kumeyaay, their religious and

cultural practices are now at risk.

       The Kumeyaay claim that the land for the Projects contains “numerous sites of

longstanding, documented, and continuing cultural and religious importance to the Kumeyaay

people.” Id. They allege that while the construction “involves substantial ground-disturbing

activities,” the Government has not established sufficient consultation and mitigation procedures

to protect their religion and culture. Compl. ¶¶ 91, 93. To the Kumeyaay, discovery of burial

sites and human remains is “inevitable.” Pls.’ Mot. at 22. And they cannot conduct “the

ceremonies necessary to rest the souls of the deceased in peace.” Id.

       The Kumeyaay filed a Complaint against DHS, the CBP, the U.S. Army Corps of

Engineers, and several individuals within these agencies in their official capacities (collectively,

the “Government”). Compl. ¶¶ 14–19. They raise claims under the Religious Freedom

Restoration Act of 1993 (“RFRA”), the First Amendment, and the federal laws Wolf purported

to waive. See id. ¶¶ 146–84. The Kumeyaay seek declaratory relief and an injunction barring

more construction activity until the Government satisfies its consultation and statutory

obligations. Id. at 65–67.



                                                  4
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 5 of 18




        Two days after filing the Complaint, the Kumeyaay moved separately for a temporary

restraining order and preliminary injunction repeating their request to halt construction of the

Projects until adequate consultation and review procedures can be established. 3 See Pls.’ Mot.

The parties completed briefing on this motion, and the Court held a hearing. The motion is now

ripe.

                                                   II.
        Preliminary injunctions are both “extraordinary and drastic.” Munaf v. Geren, 553 U.S.

674, 689 (2008) (cleaned up). They are “never awarded as of right.” Id. at 690. And they

“should not work to give a party essentially the full relief he seeks on the merits.” Dorfmann v.

Boozer, 414 F.2d 1168, 1173 n.13 (D.C. Cir. 1969) (per curiam). Preliminary injunctions are

reserved for situations when “it is manifest that the normal legal avenues are inadequate.” Id. at

1174.

        To secure a preliminary injunction, the moving party “must establish that [it] is likely to

succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in [its] favor, and that an injunction is in the public

interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). And it “may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.” Id. at 22.

        Irreparable harm has “always” served as the “basis of injunctive relief in the federal

courts.” Sampson v. Murray, 415 U.S. 61, 88 (1974) (cleaned up). So the D.C. Circuit “has set a

high standard.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

2006). The alleged injury “must be both certain and great; it must be actual and not theoretical.”



3
 During an initial scheduling hearing, the Kumeyaay agreed that the Court should construe their
motion as a request for an expedited preliminary injunction under Local Civil Rule 65.1(d). See
Min. Entry (Sept. 25, 2020).
                                                    5
          Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 6 of 18




Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam). And it must be “of

such imminence that there is a clear and present need for equitable relief to prevent irreparable

harm.” Id. (cleaned up) (emphasis in original).

         Indeed, failure to establish irreparable harm dooms a preliminary injunction, even if the

other three factors favor relief. Chaplaincy of Full Gospel Churches, 454 F.3d at 297. If there is

no irreparable harm, a court need not consider the remaining factors. See CityFed Fin. Corp. v.

Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C. Cir. 1995) (declining to consider the remaining

factors because the plaintiff “has made no showing of irreparable injury here”).

         A court can grant a preliminary injunction “based on less formal procedures and on less

extensive evidence than in a trial on the merits, but if there are genuine issues of material fact

raised in opposition to a motion for a preliminary injunction, an evidentiary hearing is required.”

Cobell v. Norton, 391 F.3d 251, 261 (D.C. Cir. 2004) (cleaned up). Neither the Kumeyaay nor

the Government asked the Court to resolve any factual disputes through an evidentiary hearing.

And the Court finds no such hearing is needed because any factual dispute is not material to this

motion.

                                                  III.
         As the impetus for injunctive relief, the Court starts its analysis with the irreparable harm

factor. And that is where it will end. The Court need not review the other three factors because

the Kumeyaay fail to make out a certain, great, and imminent injury in the absence of a

preliminary injunction. See League of Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir.

2016).

         The Kumeyaay raise three theories of irreparable harm: destruction of Kumeyaay culture

and religion, lack of access to the Projects, and injury to their procedural rights. None holds

water.

                                                   6
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 7 of 18




                                                 A.

       The Kumeyaay’s principal claim of injury is this: So long as construction at the Projects

continues without proper consultation and mitigation measures, it will “unavoidably damage”

cultural and religious sites and artifacts, as well as the natural setting and resources “on which

the sacred nature of such sites depends.” Pls.’ Mot. at 50. The Court does not doubt the

significance of the region to the Kumeyaay’s religion. But they have not made a clear showing

to support their contention for any of these alleged harms.

                                                 1.

       For starters, no Kumeyaay burial sites or remains have been identified within the narrow

strip of federal land where construction is taking place, even after the Government surveyed and

re-surveyed the land. See Enriquez Decl. ¶¶ 47, 51, 84; Tr. of Mot. for TRO (“Hr’g Tr.”) 51:19–

20, ECF No. 22 (“[N]o human remains were found during any of that work.”). The Kumeyaay

instead base a likelihood of irreparable harm on evidence found near the Projects. This includes

the discovery of two human remains. 4 See Pls.’ Mot. at 22. One object was found twenty miles

west of the project in San Diego and another was found south of the project, possibly in

Mexico. 5 Enriquez Decl. ¶¶ 43, 89.




4
 The CBP also received an initial report of a human bone later found to be PVC piping.
Enriquez Decl. ¶ 86.
5
  The Government contends the bone was in Mexico, but the Kumeyaay claim the bone was
within the United States but outside the project in San Diego. Compare Enriquez Decl. ¶ 43,
with Decl. of Richard Carrico (“Carrico Decl.”) ¶ 30, ECF No.7-5. The Court need not resolve
this dispute because it is not material. Both parties agree the bone was located outside the
Projects. See Hr’g Tr. 36:16–19 (confirming agreement that human remains were found south of
the project in San Diego).

                                                  7
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 8 of 18




       This evidence is insufficient on its own to establish actual, imminent injury. The

Kumeyaay rely on these discoveries to show that it is “extremely likely” similar materials are

located within the Projects’ construction zones. 6 See Pls.’ Reply in Supp. of Mot. for Prelim. Inj.

(“Pls.’ Reply”) at 18, ECF No. 18. To support their conclusion, the Kumeyaay provide

declarations from Richard Carrico, a “well-recognized authority on southern California Native

Americans,” and Angela Elliott Santos, the Chairwoman of Plaintiff Manzanita Band. See

Carrico Decl. ¶ 6; Decl. of Angela Elliott Santos (“Santos Decl.”) ¶ 2, ECF No. 7-2. The Court

is unconvinced.

       Carrico provides examples of village sites “in the border region of California that have

produced burials,” including “most of the village sites excavated in San Diego county.” Carrico

Decl. ¶ 28. He thus concludes that it “would be reasonable . . . that human remains would be

associated with the large village complexes near Campo and Jacumba.” Carrico Decl. ¶ 29

(emphasis added). Two holes sink this evidence. Carrico fails to link his conclusion to the

Projects. He broadly refers to complexes near Campo and Jacumba, but the Court is left to

speculate whether the Projects’ construction zones fall within either area. Indeed, the

Government submits evidence showing that the construction zones are outside both Campo and

Jacumba. See Enriquez Decl. ¶ 100; id. Ex. A. And even if Carrico’s conclusions do apply to

the Projects, he speaks only to the origin of human remains, not the likelihood remains will be

found within the construction zones.


6
  A declaration from Lisa Haws, the Tribal Historic Preservation Officer and Tribal
Administrator for Plaintiff Manzanita Band, mentions that various objects were discovered
during a July 2020 site visit. See Decl. of Lisa Haws (“Haws Decl.”) ¶ 18, ECF No. 7-4. This
statement, even if true, leaves several questions open for speculation. Was the “probable human
bone” confirmed to be such? Do the objects belong to the Kumeyaay? Were these discoveries
raised with the Government? If so, how did the Government respond? Without this information,
the Kumeyaay cannot rely on this discovery as a basis for their irreparable harm claim.

                                                 8
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 9 of 18




       Chairwoman Santos states that she “repeatedly cautioned CBP that there are cultural

resources near the border” and “important facts were discovered 25 feet below ground close to

the border.” Santos Decl. ¶ 14 (emphasis added). This evidence only confirms what is already

known: Potential Kumeyaay resources were identified outside the Projects’ construction zones.

But the fact remains that the Government has found no Kumeyaay remains within the Projects.

See Enriquez Decl. ¶ 84.

       Even if human remains or other artifacts are likely to be found within the Projects—

which the Kumeyaay have not clearly established on this record—their irreparable harm theory

is undermined by Government measures in place to avoid and mitigate any harm to their religion

and culture. Cf. Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S. 439, 454 (1988) (“It is

worth emphasizing . . . that the Government has taken numerous steps in this very case to

minimize the impact that construction of the [] road will have on the Indians’ religious

activities.”). The Government conducted surveys and re-surveys of the areas at the Kumeyaay’s

request, with Kumeyaay cultural monitors present. Hr’g Tr. 51:13–19 (“CBP has reviewed

survey data, they did record searches, they conducted new surveys in advance of this

construction in 2020. And at plaintiffs’ request, through the consultation process, they re-

surveyed specific areas requested by plaintiffs that were likely to have cultural items; and they

did so with the tribal cultural monitors present.”); Enriquez Decl. ¶¶ 20, 51.

       As the Kumeyaay admit, “CBP hosted a number of conference calls with the Tribes about

the border construction project . . . in July, August, and September 2020, and in which it

provided information about their cultural surveying efforts and monitoring in San Diego.”

Santos Decl. ¶ 13; see also Enriquez Decl. ¶ 50 (describing “what has become a recurring,




                                                 9
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 10 of 18




biweekly call with the Kumeyaay Tribes, including Plaintiffs”). A coordination meeting

between the Kumeyaay and Government took place just last month. See Haws Decl. ¶ 21.

       The Government also has committed to a protocol establishing procedures for the

“avoidance, treatment, curation, and repatriation of cultural resources.” Enriquez Decl. ¶¶ 52,

60. Under the protocol, the Government will try to avoid “areas where resources are found” and

will leave those resources in place “wherever possible.” Id. ¶ 52. If the Government cannot

avoid a resource, the protocol requires it to immediately halt construction within 100 feet of the

resource “until it can be treated appropriately.” Id. This may include “culturally appropriate

repatriation efforts to address the discovery” within 48 hours. Id.

       There is already concrete evidence of these efforts. When surveys identified two

archeological sites at the project in Imperial County, the Government “took steps to ensure that

the sites would not be impacted.” Id. ¶ 26. It realigned an access road and required a

construction contractor to find a new location for a proposed well site to avoid the archeological

site. Id. In another instance, a re-survey identified “the presence of known and previously un-

identified individual resources or ‘isolates.’” Id. ¶ 47. These isolates were not eligible for listing

on the National Register, but the CBP shared the survey results with the Kumeyaay and

consulted with them before agreeing to “various protection measures.” 7 Id. ¶¶ 47–51, 56–57.

This led to flagging the isolates and creating a buffer zone “to ensure that they were not

disturbed during construction activities.” Id. ¶ 50.




7
  According to the Government, this re-survey, like the earlier surveys, “did not reveal the
presence of cultural sites or artifacts that would be eligible for listing on the National Register of
Historic Places.” Enriquez Decl. ¶ 47.


                                                  10
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 11 of 18




       To be sure, the Kumeyaay argue that the Government’s measures are insufficient. See

Pls.’ Mot. at 53 n.14; Santos Decl. ¶ 13; Haws Decl. ¶ 25. But this is a question best left for the

merits stage of the case. 8 For now, the mitigation efforts in place undermine the Kumeyaay’s

burden to establish both irreparable and imminent harm, especially given their own evidentiary

shortcomings. Accord Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d

4, 36 (D.D.C. 2016) (denying Indian tribe’s request for preliminary injunction of oil pipeline

construction near reservation in part because the construction was subject to restrictions “that

make it unlikely that construction will damage or destroy sites of cultural significance to the

Tribe”); Macht v. Skinner, 715 F. Supp. 1131, 1137 (D.D.C.), aff’d, 889 F.2d 291 (D.C. Cir.

1989) (“[I]n balancing the equities in this case, it is appropriate for the Court to consider the

attempts at mitigation[.]”).

       Judge Boasberg recently considered a similar preliminary injunction request in Eastern

Band of Cherokee Indians v. U.S. Department of Interior, Civil Action No. 20-757 (JEB), 2020

WL 2079443 (D.D.C. April 30, 2020). There, a tribe sought a preliminary injunction to halt the

transfer of land for the construction of a casino. Id. They claimed that without an injunction

they would lose their statutory consultation rights and any “cultural patrimony and/or human

remains” found on site. Id. at *4 (cleaned up).

       Judge Boasberg denied the request. He noted that the site was a “highly disturbed area

that has been used for multiple purposes.” Id. at *6 (cleaned up). There also was no evidence

that “places the cultural relics on the proposed gaming site itself” or that “any of those items

belonged to the Cherokee.” Id. at *5. The government agency’s searches of “historical and




8
  All of the Kumeyaay’s statutory claims, except RFRA, challenge the adequacy of consultation
and protective measures currently in place. See Compl. ¶¶ 146–53, 162–80.
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        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 12 of 18




archeological literature, as well as the National Register of Historic Properties,” did not identify

any “eligible or potentially eligible historic properties or paleontological resources.” Id. at *6

(cleaned up). Even if historical artifacts did exist on site, he found that the builders agreed to

“use certain best practices and undertake enumerated mitigation measures so that the proposed

complex would have a less than significant impact across several environmental measures.” Id.

(cleaned up). Judge Boasberg reasoned that since there was “no evidence of Cherokee artifacts

and the land has already been substantially disturbed by state construction activities, the plan

suffices to greatly reduce the imminence of injury.” Id. at *7.

       So too here. The Projects are located “within a narrow construction corridor on federal

land that parallels the international border, most of which is previously disturbed.” Defs.’ Opp’n

at 50. Most of the construction—fourteen of the twenty miles—will replace fencing that already

exists, and the areas function as a law enforcement zone. Enriquez Decl. ¶¶ 11–17. No

Kumeyaay artifacts or remains have been discovered within the Projects’ construction zones,

despite the Government’s surveys and re-surveys. See id. ¶ 84; Hr’g Tr. 51:13–20. So the Court

cannot say with any confidence that the Kumeyaay certainly face injury at all. More, there are

measures in place to mitigate any potential harm if materials are discovered, as the Government

has already shown with its treatment of remains found near the Projects. See Enriquez Decl. ¶ 87

(stating the Government did not prevent the Kumeyaay from crossing the U.S.-Mexico border to

retrieve the human remain discovered so that it could be appropriately relocated).

                                                  2.

       The Court need only briefly address the Kumeyaay’s argument that the Projects will

inflict irreparable harm on “nearby sacred sites used by tribal members and the natural resources

on which those sacred sites depend.” Pls.’ Reply at 26. This includes Tecate Peak, Boundary



                                                 12
         Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 13 of 18




Mountain, Jacumba Valley and Hot Springs, Table Mountain, the Yuha Basin, and the trail

system the Kumeyaay use to link their villages to each other and the sacred sites. See Pls.’ Mot.

at 17–21. The area surrounding the Projects is no doubt significant to the Kumeyaay’s practices.

See Decl. of John Elliott (“Elliott Decl.”) ¶¶ 4–11, ECF No. 7-3; see also Carrico Decl. ¶¶ 14–19,

24–25.

         These harms, however, run headlong into a critical feature of the construction: it takes

place only on federal land. Enriquez Decl. ¶ 11. In the context of the First Amendment, the

Supreme Court has declined to enforce a permanent injunction barring government construction

on federal land that would have “devastating effects on traditional Indian religious practices.”

Lyng, 485 U.S. at 451. The Court reasoned that the “Constitution does not, and courts cannot,

offer to reconcile the various competing demands on government, many of them rooted in

sincere religious belief, that inevitably arise in so diverse a society as ours.” Id. at 452. It found

that “government simply could not operate if it were required to satisfy every citizen’s religious

needs and desires.” Id. Thus, the Court held, “[w]hatever rights the Indians may have to the use

of the area . . . those rights do not divest the Government of its right to use what is, after all, its

land.” Id. at 453 (emphasis in original).

         The Court reserves the merits of the Kumeyaay’s First Amendment and RFRA claims for

a later time. But Lyng is instructive regarding the Kumeyaay’s claimed harms to the surrounding

sites. As in Lyng, construction for the Projects is on a narrow strip of federal land that serves as

a law enforcement zone and will largely replace fencing that has been in place for at least ten

years. Enriquez Decl. ¶¶ 11, 102. Through the lens of Lyng then, damage to the surrounding

areas—even those integral to the Kumeyaay religion and culture—that is incidental to the

Government’s use of its own land fails to meet the heightened standard for irreparable harm.



                                                   13
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 14 of 18




        The record also does not support a clear showing that these sites will suffer actual

damage. The Kumeyaay only cite Mr. Elliott’s concerns and fears about the Projects’ effect on

the sacred sites, not any evidence that injuries are likely to occur. See Elliott Decl. ¶¶ 9, 12, 17,

19. While sincere, Mr. Elliott’s sentiments do not meet the required showing for a preliminary

injunction. See Wis. Gas Co., 758 F.2d at 674 (“Injunctive relief will not be granted against

something merely feared as liable to occur at some indefinite time.” (cleaned up)). And they are

unsupported by the rest of the evidence. Tecate Peak is located seven miles northwest of the

project in San Diego, and the Government represents that construction will not affect it or

Kumeyaay members’ access to it. Enriquez Decl. ¶ 91. The Government makes similar

representations for Boundary Mountain, Jacumba Valley and Hot Springs, and Table Mountain.

Id. ¶¶ 92–93. The Kumeyaay also will retain their use of any historical trails, as the construction

“will not alter their orientation on the landscape.” 9 Id. ¶ 96.

        In short, the Kumeyaay have not made a clear showing of imminent, irreparable harm to

their culture and religion.

                                                  B.

        Next, the Kumeyaay claim that their access to the Projects has been “limited.” Pls.’ Mot.

at 52. This, they argue, inflicts harm in two ways. The Kumeyaay cannot advise the

Government of “possible damage to sites or of the import of sites, artifacts, or remains that

earthmoving uncovers.” Id. (emphasis added). It also “blocks their ability to engage in religious

ceremonies, which directly infringes on their ability to worship in violation of the Free Exercise

Clause and substantially burdens their religious exercise in violation of RFRA.” Id. at 54.



9
  The Government offers similar evidence for the migration of the bighorn sheep, which “will
continue to be able to use known movement corridors it has relied on historically for such
movement.” Enriquez Decl. ¶ 105.
                                                  14
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 15 of 18




        These harms, however, are only as strong as their foundation. And the foundation is

quicksand. The Kumeyaay cite no instance in which the Government has barred their members

from the Projects. They instead describe a single incident in which there was “much intense

discussion and argument” as several members sought access to the Projects. See Elliot Decl.

¶ 16. But as the Kumeyaay concede, the members could enter. Id. So there is insufficient

evidence that the Kumeyaay’s “First Amendment interests are either threatened or in fact being

impaired at the time relief is sought.” Nat’l Treasury Emps. Union v. United States, 927 F.2d

1253, 1254 (D.C. Cir. 1991) (cleaned up). The Government contends that the “CBP does not

prevent or interfere with individuals who access these areas to observe construction, recreate,

pray, or hold religious ceremonies so long as the activities do not pose an immediate threat to

border security or public safety.” Enriquez Decl. ¶ 101. And the Kumeyaay have not shown

otherwise. 10

        The record also does not show that the Government has prevented the Kumeyaay from

advising on “possible damages” to sites or artifacts. As of now, the CBP funds at least three

tribal cultural monitors. 11 See Pls.’ Mot. at 53. And there are “no limits on where tribal cultural

monitors can observe construction activity” within the Projects. Enriquez Decl. ¶ 70. The

Kumeyaay argue that more monitors are needed. See Pls.’ Mot. at 53; Haws Decl. ¶¶ 18, 25e–h.



10
    During the motion hearing, counsel for the Kumeyaay admitted that the Projects were not
places where the Kumeyaay conduct religious ceremonies regularly. Hr’g Tr. 32:3–8. Their
concern is that Kumeyaay ceremonies “would need to take place because the bodies are being
harmed or dug or separated.” Id. But as of now, no evidence of human remains has been found
at the Projects. Enriquez Decl. ¶ 84; Hr’g Tr. 50:21–51:9.
11
   The parties appear to dispute the number of tribal cultural monitors present at the Projects.
The Government contends there are six total monitors, four at the project in San Diego and two
for the project in Imperial County. See Defs.’ Opp’n at 53. The Court need not resolve this
factual dispute because it is not material. See Cobell, 391 F.3d at 261. Regardless of the
number, the presence of these monitors weighs against a finding of irreparable harm.
                                                 15
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 16 of 18




Perhaps. But the Government has invited the Kumeyaay to employ their own monitors for the

Projects, which they have declined to do. Enriquez Decl. ¶ 70. To be sure, the Kumeyaay are

under no legal obligation to provide monitors. Their decision not to do so, however, weakens

their claim that they cannot oversee construction activities to mitigate potential damage.

       The court reached a similar conclusion in Standing Rock Sioux Tribe. 205 F. Supp. 3d at

4. In that case, an Indian tribe moved for a preliminary injunction to prevent permitting of an oil

pipeline near the tribe’s reservation. The court denied the motion in part because the tribe had

declined the Army Corps’ invitation to “visit the sites or even conduct its own surveys.” Id. at

36. As the court reasoned, the tribe could not then argue “that there would be a likely injury at

these places by claiming that it was prevented from assessing these sites.” Id.

       The facts here warrant the same result. At least at this preliminary stage, the purported

harms stemming from lack of access are theoretical, not actual. See Wis. Gas Co., 758 F.2d at

674.

                                                C.

       Finally, the Kumeyaay suggest that the Government has stripped them of their procedural

rights, which they claim “is itself an irreparable harm.” See Pls.’ Mot. at 54. They appear to rely

on their right to consultation under the IIRIRA and the federal statutes Wolf purported to waive.

See id. at 51. The Court disagrees.

       The Kumeyaay’s alleged injury to their consultation rights—even if undisputed—cannot

constitute irreparable harm on its own. See, e.g., E. Band of Cherokee Indians, 2020 WL

2079443, at *4 (“A chorus of federal courts . . . has found that procedural injury, standing alone,

cannot constitute irreparable harm.” (collecting cases)).




                                                16
          Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 17 of 18




          The Kumeyaay still must identify a “concrete” and “great” injury that accompanies their

alleged procedural injury. See Alcresta Therapeutics, Inc. v. Azar, 318 F. Supp. 3d 321, 327

(D.D.C. 2018). They fail to do so. The Kumeyaay claim that lack of consultation prevents them

from preserving and protecting their culture and religion. See Pls.’ Mot. at 53. These are the

same injuries already raised, just dressed differently. As the Court explained above, the evidence

is insufficient for the Kumeyaay to meet their heightened burden. So it likewise fails here.

          More, the Kumeyaay concede that consultation is happening. Indeed, their RFRA claim

depends on consultation with the Government. See Pls.’ Mot. at 30–35. And the Government

has documented its efforts to consult with the Kumeyaay before and after construction began for

these Projects. See Defs.’ Opp’n at 22–24. The Kumeyaay dispute whether this consultation is

sufficient. The Court need not resolve the merits of their challenge now. 12 For now, evidence of

consultation undermines the Kumeyaay’s ability to establish a clear showing of their procedural

injury.

                                                  IV.
          On this record, the Court finds no reason to deviate from the clear intent of the IIRIRA to

ensure expeditious construction of the barrier projects. The Court acknowledges the

Kumeyaay’s efforts to preserve their culture and religious practices. But a preliminary

injunction is an “extraordinary and drastic remedy.” Munaf, 553 U.S. at 689.

          The evidence shows that construction is proceeding on a narrow strip of federal land.

And there are some consultation and protections in place to avoid damage if Kumeyaay cultural

and religious resources are discovered within the construction zones, which has yet to occur.


12
   For its part, the Government argues that the consultation provision of the IIRIRA—the
primary statute that the Kumeyaay rely on—is silent on the scope, extent, or timing of
consultation for barrier projects. See Defs.’ Opp’n at 19–22.

                                                  17
        Case 1:20-cv-02712-TNM Document 23 Filed 10/16/20 Page 18 of 18




Against this evidence, the Kumeyaay have not made a clear showing that they will suffer

imminent, irreparable injury in the absence of an injunction here. The Court thus declines to

consider the other three factors for a preliminary injunction. It will address the merits in the

normal course and the Kumeyaay will be able to pursue their injunctive relief through the claims

they raise in their Complaint. For these reasons, Plaintiffs’ motion is denied.




                                                                 /s/
Dated: October 16, 2020                               TREVOR N. McFADDEN, U.S.D.J.




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